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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                 CRIMINAL NO. 20-150
 VERSUS                                                   SECTION "J"
 DARREL FITZPATRICK                                       VIOLATION: 18 U.S.C. § 371

             NOTICE OF REARRAIGNMENT on JANUARY 21, 2021 at 9:30 A.M.

      Take notice that this criminal case has been set for REARRAIGNMENT on THURSDAY,

JANUARY 21, 2021 AT 8:30 A.M. before JUDGE CARL J. BARBIER, Courtroom C-268, 500

Poydras Street, New Orleans, Louisiana 70130.

IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING.

PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL IMMEDIATELY
OUTSIDE THE AFORESAID COURTROOM FOR EVALUATION AND SEARCH 15 MINUTES
PRIOR TO APPEARANCE.

Date: January 11, 2021                          CAROL L. MICHEL, CLERK

TO:                                             by: Gail Chauvin, Deputy Clerk

DARREL FITZPATRICK (BOND)                       AUSA: Myles Ranier, T.A.

Counsel for Defendant:                          U.S. Marshal
Townsend Myers
townsend@nolacriminallaw.com                    U.S. Probation Officer

                                                U.S. Pretrial Services

                                                JUDGE

                                                MAGISTRATE

                                                COURT REPORTER COORDINATOR
                                                INTERPRETER: No



                                                Special Agent Matthew Pedersen
                                                Department of Defense
                                                Office of Inspector General
If you change address,                          Matthew.Pedersen@DODIG.MIL
notify clerk of court
by phone, 589-7694
